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 6
                               UNITED STATES DISTRICT COURT
 7                            WESTERN DISTRICT OF WASHINGTON
                                        AT TACOMA
 8

 9      ROBIN FRAZIER,
                                                         CASE NO. 2:20-CV-163-RSL-DWC
10                            Plaintiff,
                                                         AMENDED INITIAL PRETRIAL
11             v.                                        SCHEDULING ORDER

12      HOLLAND AMERICA LINE INC., et
        al.,
13
                              Defendants.
14          The parties have filed a Joint Motion to Continue Dates and Modify the Scheduling
15 Order. Dkt. 21. After considering the relevant record, the Joint Motion (Dkt. 21) is granted and

16 the Initial Pretrial Scheduling Order is amended as follows:

17
                                     Event                                         Date
18
       Fact discovery completed by                                             April 1, 2021
19
       Disclosure of expert witnesses                                          June 1, 2021
20
       Disclosure of rebuttal witnesses                                        July 1, 2021
21
       Last date to file motions related to discovery                        August 30, 2021
22
       Expert discovery completed by                                         October 1, 2021
23
       Last date to file and serve dispositive motions                      November 1, 2021
24

     AMENDED INITIAL PRETRIAL SCHEDULING
     ORDER - 1
          Case 2:20-cv-00163-RSL-DWC Document 22 Filed 11/06/20 Page 2 of 2




 1         All other portions of the Initial Pretrial Scheduling Order (Dkt. 20) remain in full force

 2 and effect.

 3         Dated this 6th day of November, 2020.


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                                                         David W. Christel
 6                                                       United States Magistrate Judge

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     AMENDED INITIAL PRETRIAL SCHEDULING
     ORDER - 2
